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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Counsel for Defendant
6    Brisa Celeste Castillo
7

8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                  )   No. 1:13-cr-00219 LJO
                                                )
12                    Plaintiff,                )   STIPULATION TO CONTINUE
                                                )   SENTENCING, ORDER THEREON
13          vs.                                 )
                                                )   Date: May 19, 2014
14   BRISA CELESTE CASTILLO,                    )   Time: 10:00 a.m.
                                                )   Judge: Hon. Lawrence J. O’Neill
15                     Defendant.               )
                                                )
16                                              )
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, MEGAN A. RICHARDS, Assistant United States Attorney, counsel for plaintiff, and
19   ERIC V. KERSTEN, Assistant Federal Defender, counsel for defendant Brisa Castillo, that the
20   date for sentencing in this matter may be continued to May 19, 2014, at 10:00 a.m., or the
21   soonest date thereafter that is convenient to the court. Sentencing is currently scheduled for May
22   5, 2014, at 10:00 a.m.
23          The presentence interview for Ms. Castillo was scheduled for Friday, March 14, 2014, at
24   11:00 a.m. Unfortunately, Ms. Castillo resides in Long Beach and had car problems while
25   travelling to Fresno. She did not arrive until 12:20, and the interview could not be completed
26   because the probation officer had others commitments during the afternoon. Castillo’s
27   presentence interview has been rescheduled but additional time is need to allow for completion of
28   the PSR.
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1             The parties agree that any delay resulting from the continuance shall be excluded as
2    necessary for effective defense preparation pursuant to 18 U.S.C.§§ 3161(h)(7)(A) and
3    3161(B)(iv). For this reason, the ends of justice served by the granting of the requested
4    continuance outweigh the interests of the public and the defendant in a speedy trial.
5

6
                                                                  BENJAMIN B. WAGNER
7                                                                 United States Attorney
8             DATED: March 21, 2014                        By:    /s/ Megan A. Richards
                                                                  MEGAN A. RICHARDS
9                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
10
                                                                  HEATHER E. WILLIAMS
11                                                                Federal Defender
12            DATED: March 21, 2014                        By:    /s/ Eric V. Kersten
                                                                  ERIC V. KERSTEN
13                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
14                                                                Brisa Celeste Castillo
15

16                                                  ORDER
17            IT IS SO ORDERED. The intervening period of delay is excluded in the interests of
18   justice pursuant to 18 U.S.C.§§ 3161(h)(7)(A) and 3161(B)(iv).
19

20   IT IS SO ORDERED.
21
         Dated:        March 23, 2014                        /s/ Lawrence J. O’Neill
22                                                        UNITED STATES DISTRICT JUDGE
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     Castillo: Stipulation to Continue Sentencing     2
